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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                            Case Nos.: 3:94cr3136/RV/CJK
                                                         3:98cv59/RV/CJK

BENNIE CLEVELAND WILLIAMS
________________________________/

                     REPORT AND RECOMMENDATION

      This matter is before the court upon Defendant’s Motion to Reopen and Amend
Original § 2255 Motion (doc. 462). The Government has responded and moved to
dismiss his motion (doc. 466) and Defendant has responded (doc. 468). The case was
referred to the undersigned for the issuance of all preliminary orders and any
recommendations to the district court regarding dispositive matters. See N.D. Fla.
Loc. R. 72.2; see also 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72(b). After a careful
review of the record and the arguments presented, it is the opinion of the undersigned
that Defendant’s motion should be denied.
                        PROCEDURAL BACKGROUND
      Defendant was convicted of controlled substance offenses in 1995 and
sentenced to a term of life imprisonment (doc. 124). His judgment and conviction
were affirmed on appeal in 1997 (doc. 197). In 1998, Defendant filed a motion to
vacate pursuant to 28 U.S.C. § 2255 (doc. 199). The motion was denied, as was his
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request for a certificate of appealability (docs. 221, 222, 228, 238). Defendant filed
numerous other motions attempting to either reverse the judgment of conviction or
reduce his sentence (see docs. 263, 308, 310, 319, 329, 360, 361). His sentence was
reduced from life to 360 months based on the application of the U.S.S.G. crack
cocaine amendment (doc. 365). He now seeks to “re-open” his § 2255 motion in light
of the Supreme Court’s decision in Martinez v. Ryan, 132 S.Ct. 1309 (2012), in an
apparent attempt to relitigate the claims that were raised therein.
         The Government moves to dismiss Defendant’s attempt to re-open,
characterizing it as an attempt to avoid the statutory bar on second or successive
motions (doc. 466). To the extent Defendant’s motion can be viewed as a second or
successive motion, the court is without jurisdiction to consider it as he has not
obtained leave from the Eleventh Circuit to file such a motion. See 28 U.S.C. §
2244(b)(3) and § 2255(h); Felker v. Turpin, 518 U.S. 651 (1996); United States v.
Holt, 417 F.3d 1172, 1175 (11th Cir. 2005).
         In his response, however, Defendant argues that he filed his motion pursuant
to Fed. R. Civ. P. 60(b) seeking relief from an “allegedly incorrect procedural ruling”
(doc. 468 at 5). The court has reviewed the record and notes that each of the claims
in Defendant’s initial § 2255 motion was addressed on its merits, even if a procedural
bar also was noted (doc. 221). Although Defendant was represented by counsel in the
initial § 2255 proceedings, his reliance on Martinez as authority for re-opening his
motion is misplaced. Martinez addressed the issue of procedural default based on
ineffective assistance of counsel in a state habeas proceeding. Martinez, 132 S.Ct.
at 1319. As such, it has been found inapplicable to claims challenging federal
convictions. See, e.g., Jackman v. Shartle, No.13-2500; 2013 WL 4419333 at *2 n.5


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(3d Cir. 2013); Buenrostro v. United States, 697 F.3d 1137, 1140 (9th Cir. 2012).
Furthermore, Martinez does not confer a constitutional right to effective assistance
of post-conviction counsel. See In Re Sepulvado, 707 F.3d 550, 556 (5th Cir. 2013).
Therefore, neither Rule 60(b) nor Martinez provides a basis for Defendant to re-open
and re-litigate issues that were decided thirteen years ago. Defendant’s motion to re-
open should be denied.
                                                Certificate of Appealability
         Section 2255 Rule 11(a) provides that “[t]he district court must issue or deny
a certificate of appealability when it enters a final order adverse to the applicant,” and
if a certificate is issued, “the court must state the specific issue or issues that satisfy
the showing required by 28 U.S.C. § 2253(c)(2).” A timely notice of appeal must still
be filed, even if the court issues a certificate of appealability. § 2255 11(b).
         After review of the record, the court finds no substantial showing of the denial
of a constitutional right. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84
(2000) (explaining how to satisfy this showing) (citation omitted). Therefore, it is
also recommended that the court deny a certificate of appealability in its final order,
to the extent one is required in this case.
         The second sentence of Rule 11(a) provides: “Before entering the final order,
the court may direct the parties to submit arguments on whether a certificate should
issue.” If there is an objection to this recommendation by either party, that party may
bring this argument to the attention of the district judge in the objections permitted
to this report and recommendation.




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         Based on the foregoing, it is respectfully RECOMMENDED:
         1. Defendant’s “Motion to Re-open § 2255 with an Affirmative Order in light
of Martinez v. Ryan, which extended the Sixth Amendment Right to Effective
Counsel” (doc. 462) be DENIED.
         2. The Government’s “Motion to Dismiss Defendant’s Motion to Reopen Title
28 United States Code, section 2255 Case” (doc. 466) be GRANTED.
         3. A certificate of appealability be DENIED.
         At Pensacola, Florida, this 6th day of September, 2013.




                                                   /s/   Charles J. Kahn, Jr.
                                                   CHARLES J. KAHN, JR.
                                                   UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO THE PARTIES

      Any objections to these proposed findings and recommendations must be
filed within fourteen days after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual
findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th
Cir. 1988).




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